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             IN THE UNITED STATES DISTRICT FOR THE EASTERN
                        DISTRICT OF PENNSYLVANIA

                                                :
  PAUL TOBIN,                                   :
                                                :
               Plaintiff,                       :
                                                :    CIVIL ACTION NO. 21-cv-01579-PD
        v.                                      :
                                                :
  CHICHESTER SCHOOL DISTRICT;                   :
  FRED SERINO (individually);                   :
  DANIEL NERELLI (individually);                :
  ANTHONY TESTA (individually);                 :
  JAMES STEWART (individually);                 :
  MICHAEL CIVERA (individually),                :
                                                :
                Defendants.                     :
                                                :
                                                :

    DEFENDANT, MICHAEL CIVERA’S PRETRIAL MEMORANDUM

NATURE OF THE ACTION / JURISDICTION
      As against Defendant, Michael Civera (“Defendant Civera”), Plaintiff, Paul

Tobin (“Plaintiff”) has asserted violations of the Pennsylvania Human Relations

Act, 43 P.S. §§ 951, et seq. (PHRA), alleging that Defendant Civera aided and

abetted his employer, Chichester School District in committing disability and race

discrimination and retaliation against Plaintiff. This court has jurisdiction of the

federal question claims asserted by Plaintiff under the Americans with Disabilities

Act, Family Medical Leave Act, and Title VII of the Civil Rights Act of 1964, and

supplemental jurisdiction of the state claims under the PHRA.




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DEFENDANT’S STATEMENT OF THE CASE
      Plaintiff was the Facilities Director, an important administrative position in

the Chichester School District, from June of 2016 until he took a leave of absence

in March of 2019. The Facilities Director is in charge of the Facilities Department,

which encompasses all maintenance, custodial, and security operations for the

School District. Plaintiff was out on leave for eight months, during which time, his

direct subordinate, Facilities Supervisor, Defendant Michael Civera, served as the

Interim Facilities Director. Upon Plaintiff’s return in November of 2019, he

requested to be placed in the Facilities Supervisor position, as he did not want the

stress of being the lead administrator of the Facilities Department. The District

granted his request, and Plaintiff was voluntarily demoted to the Supervisor

Position. At the same time, Defendant Civera was promoted to the Facilities

Director position.

      Defendant Civera was only 27 years old when he was promoted to the

directorship position on December 4, 2019. However, Defendant Civera is a leader

not only in the District, but also in the community. Defendant Civera has served as

a firefighter for Boothwyn Fire Department and Upper Chichester Fire Department

for many years, and currently serves as a Lieutenant. Defendant Civera is

accustomed to directing operations in often stressful situations. Defendant Civera

began working for the District as a security guard in November of 2010, became a

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Maintenance Class B employee in May of 2011, Maintenance Class A in

September of 2015, and Facilities Supervisor in April of 2018. On March 4, 2019,

Defendant was made the Interim Facilities Director during Plaintiff’s leave.

Although he was young when he took over the Director role, Defendant Civera

was thoroughly familiar with the workings of the Department having worked in

many roles during nearly10 years there. Defendant believes Plaintiff, a middle

aged, divorced man, resented Defendant’s youthfulness, drive and ability to

successfully lead the Department, particularly with the unprecedented occurrence

of the COVID-19 pandemic.

      As the Facilities Supervisor, Plaintiff initially cooperated and worked with

the new Facilities Director. However, over time, Plaintiff demonstrated an

increasing pattern of failing or refusing to comply with directives given him by the

young Director, disparaging the Director to Plaintiff’s subordinates, and basically

doing what he wanted to do instead of following directions. Plaintiff’s

insubordination became particularly acute after a January 2020 incident involving

Defendant Civera. At that time, Defendant Civera had used a piece of equipment

incorrectly at his home during off hours, and sustained an injury. Defendant

Civera raised his concerns about handling equipment safely with Plaintiff;

unfortunately, Plaintiff believed Defendant Civera was accusing Plaintiff of

causing his injuries, which was not the case. Plaintiff became aggressive and

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intimidating towards Defendant Civera. Following that incident, Plaintiff’s

hostilities towards Defendant Civera increased. Plaintiff escalated his campaign to

make Defendant Civera unsuccessful as the Director. Defendant Civera

recognized Plaintiff’s actions and shared his concerns with Fred Serino and Tony

Testa. Fred Serino advised Defendant Civera to begin writing down the difficulties

he was experiencing, so Defendant Civera began keeping a list. Examples of

Plaintiff’s performance issues included failing to communicate with Defendant

Civera about job tasks and operations; being unlocatable during his shift; and

Defendant having to explain to Plaintiff multiple times what needed to be done.

      On March 2, 2020, Plaintiff went to Superintendent Dr. Daniel Nerelli to

complain about an incident that had occurred nearly a year prior involving

Defendant Civera, that Plaintiff never witnessed. It must be noted that Plaintiff did

not follow the proper chain of command to report concerns to Defendant Civera’s

supervisor, Anthony Testa. That incident occurred in the shared administrative

offices of the Facilities Department and Food Service Department. Defendant

Civera, Food Service Director Nicole Taylor, and assistants Rosalie Rosado and

Joanna Naugle were laughing about a social media post of fictional acronyms used

by firefighters. On the list of false acronyms was “NBC”, which stood for “N-

word Burning Chicken”. At the time, Defendant Civera laughed about the

acronym because fire companies often have to respond to calls because people

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have burned their food. Defendant Civera never said the N-word, and was not

laughing at that part of the acronym. Ms. Taylor (an African American woman)

set Defendant Civera straight as to why use of the N-word, even as a joke, is highly

offensive. Defendant apologized to Ms. Taylor repeatedly, as he had not intended

to offend anyone.

      As a result of Plaintiff’s report, the District launched an investigation under

its anti-discrimination policy. Defendant Civera was directed not to retaliate

against anyone, and he did not. Defendant admitted the incident occurred, and that

he was sorry he offended anyone. On August 19, 2020, the District gave

Defendant Civera progressive discipline which included a written reprimand for

neglect of duty and improper conduct. Defendant Civera was unaware that it was

Plaintiff who reported the incident. Plaintiff was unhappy that Defendant Civera

was not punished more quickly and more severely.

      On March 13, 2020, all District schools and offices shut down at the order of

Governor Wolf, due to the COVID-19 pandemic. After several weeks of

shutdown, the Facilities staff returned to work at the District’s buildings in order to

cut grass and maintain the properties. The custodial staff worked during the day

time during the summer months, while during the school year they were split into

day and night shifts. Plaintiff was supervising custodians during the day shift

during the summer. During the prior two school years, Plaintiff had worked 12:00
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pm to 8:00 or 10:00 pm on alternating days; Defendant Civera worked 8:00 am to

8:00 pm each day.

      On June 18, 2020, Plaintiff made a second report against Defendant Civera.

Plaintiff again reported to Dr. Nerelli, who directed him that the proper chain of

command was to report to Tony Testa, Defendant Civera’s supervisor. Plaintiff

reported to Defendant Testa that Defendant Civera had called another employee an

“F** N***”; as with the first report, Plaintiff did not witness this alleged incident.

An investigation was initiated by Mr. Testa and Mr. Serino. Defendant Civera

adamantly denies this ever occurred, and testified under oath that he does not speak

that way and does not use the n-word. Defendant Civera further testified that he

works in a diverse environment both in the Chichester School District and in the

Fire Departments he has served throughout his career, and has received diversity

training at various times. As part of the investigation, Defendant Civera was

directed not to retaliate in any way against Plaintiff or anyone involved; and

Defendant did not. Defendant Civera also knew the allegations were not true and

was confident the investigation process to reveal that they were not true; which

appeared to him to be the case.

      On June 30, 2020, Defendant Civera directed Plaintiff to remove the grate

over a storm grate and clean out the box for further evaluation. Rather than simply

performing the task, Plaintiff endeavored to make repairs after Defendant
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repeatedly instructed him otherwise. As a result, the District expended

unnecessary manpower and expense. Defendant Civera issued a documented

verbal reprimand for Plaintiff’s insubordination. That DVR was issued on July 7,

2020. Plaintiff appealed the decision, and the DVR was amended but the

reprimand remained.

      In the late summer of 2020, it was very uncertain how schools would re-

open for the 2020-2021 school year, but the District nevertheless needed to prepare

for staff and students to be back in the school buildings after being out since

March. In addition, the Pennsylvania Department of Education mandated every

school district to develop, approve and post on their websites their Health and

Safety Plan for return to school. The District’s plan included, among other things,

plans for increased cleaning and sanitization. Thus, there were increased duties for

the custodial staff at the District in preparing for the coming year. On August 25,

2020, in regular consultation of Department matters, the decision was made by Mr.

Testa and Mr. Civera to assign Plaintiff as the supervisor of the custodians on the

second shift for the coming school year. Supervision of the 48-50 custodians on

second shift was necessary due to the increased duties caused by the COVID

pandemic, and because complaints had been received that cleaning had not been

thorough. As mentioned, Plaintiff had previously supervised this shift in the

preceding school years.

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        On August 27, 2020, Defendant Civera met with Plaintiff to inform him of

the change, which would become effective on August 31, 2020. On August 31,

2020, Plaintiff appeared at work during the day shift, rather than the second shift,

and told Defendant Civera that he had a doctor note for Human Resources.

Plaintiff did not provide the note to Defendant Civera. Once Plaintiff provided his

note to the Human Resources Department, all matters concerning Plaintiff’s time

out of work, medical condition and request for accommodations were addressed by

Central Administration, and not Defendant Civera. Similarly, decisions regarding

discipline and termination of Plaintiff were handled by Central Administration and

the School Board, and not Defendant Civera.

        Defendant Civera was not notified of a fifteen day suspension due to

Plaintiff’s second report until September 8, 2020. He disputed that decision,

pointing out to Human Resources the inconsistencies in the witness statements.

After further consideration of those factors and because Defendant was needed for

COVID matters, in December 2020, the fifteen day suspension was changed to five

days unpaid suspension and the removal of 10 days from his accumulated vacation

time.

WITNESSES
Michael Civera
Nichole Taylor

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Fred Serino
Tony Testa
Daniel Nerelli
Defendant Civera reserves the right to supplement this list to include any witnesses
previously identified by any of the parties to this action.


ESTIMATE OF TRIAL TIME
5-8 days


SPECIAL ISSUES
None.


                                      Respectfully Submitted,

                                      RAFFAELE PUPPIO


                                      BY:___Katherine H. Meehan_________
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Date: 11/8/21




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                           CERTIFICATE OF SERVICE


       I, Katherine H. Meehan, counsel for Defendant, MICHAEL CIVERA,
hereby certify that on the date set forth below the foregoing Defendant’s Pretrial
Memorandum was electronically filed and is available for viewing and
downloading from the Court’s ECF system, and was sent to the following by
email:


 Erica A. Shikunov, Esquire                Michael Levin, Esquire
 Tova Rabin, Esquire                       Michael Sweeney, Esquire
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 Attorneys for Plaintiff                   Attorneys for Defendants, Chichester
                                           School District, Fred Serino, Daniel
                                           Nerelli, Anthony Testa, and James
                                           Stewart




                                       __Katherine H. Meehan____________
                                       Katherine H. Meehan




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